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           LAW OFFICES OF GABRIEL LIBERMAN, APC
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       6
           Attorney for CAPSITY, INC.
       7
       8                            UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION
       9
      10   In re                                                Case No. 2023-23940-B-11
      11                                                        DCN: ETW-1
           CAPSITY, INC.
      12                                                        DECLARATION OF DMITRI
                                                                GODAMUNNE IN SUPPORT OF
      13                                                        DEBTOR’S OPPOSITION TO MOTION
      14                                                        FOR RELIEF FROM THE
                                                                AUTOMATIC STAY
      15                  Debtor,
                                                                Date:     April 8, 2024
      16
                                                                Time:     9:00 a.m.
      17                                                        Location: 501 I Street, 6th floor,
                                                                          Courtroom 32
      18                                                                  Sacramento, CA
      19
                                                                Judge:      Honorable Christopher D. Jaime
      20
            I, DMITRI GODAMUNNE hereby declare as follows:
      21
      22    1. I am over the age of 18 and am mentally competent and I make this declaration regarding Debtor’s

      23    Opposition to Evergreen Advantage, LLC (“Evergreen”) Motion for Relief from the Automatic Stay
      24    2. I am the president of CAPSITY, INC., the debtor in possession (the “Debtor”).
      25
            3. In my capacity as Debtor’s president, I am familiar with Debtor’s daily business, operations, and
      26
           financial affairs. Except as otherwise indicated, all of the facts set forth in this Declaration are based
      27
      28   upon my personal knowledge of Debtor’s operations and finances, information learned from my review
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       1   of relevant documents, and information supplied to me by other members of Debtor’s management and
       2   Debtor’s business and legal advisors. If called upon to testify as to the content of this Declaration, I
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           could and would do so.
       4
            4. On November 2, 2023 (the “Petition Date”), Debtor filed its voluntary petition for relief under
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       6   Chapter 11 of the Bankruptcy Code.

       7    5. Debtor was established in 2008 and operates as a coworking office space business. Debtor supports
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           local businesses, entrepreneurs, contractors and non-profit organizations in providing flexible and
       9
           alternative lease options. Debtor operates from its two commercial properties which are further
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           discussed below.
      11
      12    6. Evergreen is a creditor of Debtor, and on or about June 7, 2022, Debtor executed a Deed of Trust,

      13   which includes therein an Assignment of Leases, Rents, and Profits (the “Evergreen Deed of Trust”) and
      14
           which was recorded on 6/14/2022 as instrument number 202206140635, Clerk/Recorder, Sacramento
      15
           County against Debtor’s commercial property commonly known as 3810 Broadway, Sacramento, CA
      16
      17   95817 (the “Broadway Property”).

      18    7. The Deed of Trust secures repayment of a note dated June 3, 2022 in the original principal amount
      19   of $2,150,000.00 and executed by Debtor. Evergreen filed its proof of claim number 1 on November 29,
      20
           2023 and a copy is attached hereto as Exhibit C and provides for a secured claim in the total amount
      21
           due of $2,378,879.15.
      22
      23    8. Based on my personal opinion, I believe the fair market value of the Broadway Property is

      24   $3,100,000.00.
      25    9. Intertorg, LLC (“Intertorg) is a creditor of Debtor, and Debtor executed a Deed of Trustin second
      26
           position behind Evergreen, which may include an Assignment of Leases, Rents, and Profits (the
      27
           “Second Deed of Trust”), against the “Broadway Property.
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       1    10. The Second Deed of Trust secures repayment of a note in the original principal amount of
       2   $390,000.00 and executed by Debtor.
       3
            11. Intertorg has not filed a proof of claim as of filing of this motion.
       4
            12. Based on the secured claims of Evergreen and Intertorg, I believe there is approximately $331,120
       5
       6   of equity in the Broadway Property or a 11% equity cushion.

       7    13. Debtor has proposed to pay Evergreen adequate protection starting April 1, 2024 at the non-default
       8
            rate of $16,125.00 to keep the status quo pending a plan of reorganization.
       9
            14. The Debtor has the ability to begin making this monthly payment from rents being generated from
      10
           the Broadway Property.
      11
      12    15. If Evergreen’s motion was granted and they proceeded with a foreclosure, it would damage many

      13    other businesses beyond the Debtors. To allow the Debtor additional time to complete a refinancing
      14
            while paying the monthly debt would be the best outcome while minimally harming the tenants.
      15
      16
      17          I declare under penalty of perjury of the laws of the United States that these facts are true to the

      18   best of my knowledge and belief.
      19   Dated this 25th day of March, 2024
      20
      21
                                                  By:      /s/ DMITRI GODAMUNNE
      22                                                      DMITRI GODAMUNNE
      23                                                      President for Debtor

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